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                        EXHIBIT A
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF LOUISIANA
                                   SHREVEPORT DIVISION




  DOES 1–7,

                                Plaintiffs,         Civil Docket No. 5:18-cv-152

                                                    CHIEF JUDGE HICKS
                     v.
                                                    MAGISTRATE JUDGE HORNSBY

  BOSSIER PARISH SCHOOL BOARD and
  SCOTT SMITH in his official capacity
  as Bossier Parish Superintendent,


                              Defendants.



                DECLARATION OF PLAINTIFF DOE 1 IN SUPPORT OF
         PLAINTIFFS’ UNOPPOSED MOTION TO PROCEED USING PSEUDONYMS

     I, Plaintiff Doe 1, declare that, if called upon, I would testify to the following:

        1.     I am a plaintiff in this case.

        2.     I am the parent of one or more children who attend school in the Bossier

  Parish School System.

        3.     I have not disclosed my participation in this suit to any persons other

  than my spouse, my closest friend, and the other plaintiffs. To my knowledge, no one

  else, other than my attorneys, is aware that I am a plaintiff in this case.

        4.     I elected to bring this suit on the understanding that my identity would

  not be disclosed. I wish to remain anonymous and to proceed using a pseudonym.




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        5.     Maintaining anonymity is important to me because I fear for the

  privacy, well-being, and safety of my family, and most especially of my underage child

  or children, should my identity—and by extension theirs—become known.

        6.     I do not wish to make public my private religious beliefs, nor do I wish

  to reveal the private religious beliefs of my family members.

        7.     Should my identity become known, I fear that my underage child or

  children will suffer harassment, bullying, and verbal abuse by other students at

  school that will interfere with their comfort, safety, and ability to learn.

        8.     I base these fears on previous instances in which my child or children

  have been maliciously teased by other students during class for publicly admitting to

  not attending church. Such verbal abuse has caused my child or children to suffer

  serious distress and diminished their ability to learn.

        9.     I am aware that many community members—including school and law-

  enforcement officials—support the inclusion of prayer and the promotion of religion

  at school-sponsored events. I witnessed the Bossier Parish school community’s harsh

  reaction to the ACLU’s letter in 2015 (Second Am. Compl. Ex. E (Doc. No. 10-5)), and

  I drove past the prayer rally held on the front lawn of Airline High School on October

  3, 2015, where I saw hundreds of Bossier Parish parents and students, as well as

  school officials, in attendance. I fear that if my objection and involvement in this case

  were known, my family would be harassed and possibly threatened with physical

  violence by community members who would blame us for interfering with the schools’




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  religious activities. I fear that members of the school community would throw another

  prayer rally, but this time they would hold it on my front lawn.

        10.    I believe that my coworkers and superiors, many of whom also send their

  children to Bossier Parish schools, will strongly disapprove of my participation in this

  lawsuit because of their differing religious beliefs. I fear that if my objection and

  involvement in this case were known, my performance report and potential for

  promotion at work would be adversely affected.

        11.    I declare under penalty of perjury that the foregoing is true and correct.

  Executed on March 1, 2018.

                                           s/ Plaintiff Doe 1




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